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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

To:

Date:

for the

Southern District of New York

State of New York, et al.
Plaintiff
Vv

U.S. Department of Commerce, et al.
Defendant

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Case No. 18-cv-2921 (JMF)

APPEARANCE OF COUNSEL

The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

U.S. Department of Commerce, et al.

7/9/2019

/s! Christopher R. Reimer

Attorney's signature

Christopher R. Reimer - 85584 (Ohio)

Printed name and bar number

950 Pennsylvania Avenue, NW, Room 3612
Washington, DC 20530

 

Address

Christopher.r.reimer@usdoj.gov

 

E-mail address

(202) 305-3829

 

Telephone number

 

FAX number
